                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00194
                                                   )       JUDGE CAMPBELL
STERLING RENEVA RIVERS                             )

                                            ORDER

       Pending before the Court is a Motion to Continue Sentencing Hearing (Docket No. 1739).

The Motion is GRANTED in part and DENIED in part.

       The requested dates are not available. However, the sentencing hearing currently scheduled

for January 30, 2014 is RESCHEDULED for February 26, 2014, at 9:00 a.m. The Defendant shall

attend all Court hearings in this case.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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